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In re EZ Mailing Services                                                                                                                     Case No.                            16-10615 (SLM)
      Debtor                                                                                                                         Reporting Period:                          1/14/2016-1/31/2016

                       SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
      Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the first report, the amount should be the balance on
      the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash
      disbursements journal. The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1
      (CON’T)]

                                                                                     BANK ACCOUNTS

     ACCOUNT NUMBER (LAST 4)                              Wells Fargo 7419   New York Community     Wells Fargo 7406 Wells Fargo 8607    CURRENT MONTH          CURRENT MONTH            CUMULATIVE           CUMULATIVE
                                                                                    4055                                                ACTUAL (TOTAL OF          PROJECTED             FILING TO DATE       FILING TO DATE
     Type                                                    Operating            Operating            Operating         Operating        ALL ACCOUNTS)                                    (ACTUAL)            (PROJECTED)
     CASH BEGINNING OF MONTH                                    (6,530)                (15,835)            1,000
     RECEIPTS
     CASH SALES
     ACCOUNTS RECEIVABLE                                    3,216,166                    15,336
     LOANS AND ADVANCES
     SALE OF ASSETS
     OTHER (ATTACH LIST)                                                                                       0
     TRANSFERS (FROM DIP ACCTS)                                                          10,000           19,755           25,000
       TOTAL RECEIPTS                                       3,216,166                    25,336           19,755           25,000
     DISBURSEMENTS
     NET PAYROLL                                                     -
     PAYROLL TAXES                                              24,829
     SALES, USE, & OTHER TAXES
     EQUIPMENT FINANCING                                        4,351                     2,470                    -
     DEBT SERVICE                                             312,225                     1,198
     INSURANCE                                                 44,346
     CRO CONTRACT                                              18,750
     OFFICE                                                     5,100                         -
     OTHER                                                  1,329,136                     2,553                    -
     OWNER DRAW *
     TRANSFERS (TO DIP ACCTS)                                  837,755
     PROFESSIONAL FEES
     U.S. TRUSTEE QUARTERLY FEES
     COURT COSTS
     TOTAL DISBURSEMENTS                                    2,576,491                     6,221                 -                -

     NET CASH FLOW                                             639,675                   19,114           19,755           25,000
     (RECEIPTS LESS DISBURSEMENTS)

     CASH – END OF MONTH                                       633,146                    3,280           20,755           25,000
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                              THE FOLLOWING SECTION MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS
       LESS: TRANSFERS TO OTHER DEBTOR IN POSSESSION
     ACCOUNTS
       PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE
     SOURCES (i.e. from escrow accounts)
     TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE
     QUARTERLY FEES




                                                                                                                                                                                                                    FORM MOR-1
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